       Case 4:11-cr-40037-SOH                         Document 871             Filed 08/31/12                Page 1 of 7 PageID #: 2198
'AO 245B      (Rev, 06/05) Judgment in a Criminal Case
              Sheet I


                                            UNITED STATES DISTRICT COURT
                        WESTERN                                      District of                                ARKANSAS
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.
                                                                            Case Number:                       4:1ICR40037-040
               DAMEON RICHARD
                        aka "D-Rich"                                        USMNumber:                         10735-010

                                                                            Matthew F. Golden
                                                                            Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)            Sixty-Eight (68) of the Indictment on May 23, 2012.

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not gUilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                        Offense Ended           !J!!m!
21 U. S. C. 84I(a)(I)                 Distribution of Cocaine Base                                             2/14/2011                68
                                      (Class C Felony)




       The defendant is sentenced as provided in pages 2 through           7       of this judgment. The sentence is imposed by referring to
the U.S. Sentencing Guidelines as only advisory with the statutory range for offense(s).
o The defendant has been found not gUilty on count(s)
X Count(s)      1, 138, 144 and 145                        D is      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notity the court and United States attorney of material changes in economic circumstances.

                                                                           August 31, 2012
                                                                            Date of Imposition of Judgment


                                                                           / S / Susan O. Hickey
                                                                            Signature of Judge




                                                                           Honorable Susan O. Hickey, United States District Judge
                                                                            Name and Title of Judge


                                                                           August 31. 2012
                                                                           Date
      Case 4:11-cr-40037-SOH                           Document 871          Filed 08/31/12          Page 2 of 7 PageID #: 2199
AO 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                      Judgment - Page _ ....2=---_ of   7
 DEFENDANT:                      DAMEON RICHARD
 CASE NUMBER:                    4:11CR40037-040


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     fifteen (15) months, with credit for time served in federal custody.




  X       The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be housed in FCI Texarkana.




  X       The defendant is remanded to the custody of the United States Marshal.

  o       The defendant shall surrender to the United States Marshal for this district:

          o     at    _________ 0 a.m.                          o p.m.       on

          o     as notified by the United States Marshal.

  o       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o     before 2 p.m. on

          o     as notified by the United States Marshal.

                as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
       Case 4:11-cr-40037-SOH                           Document 871         Filed 08/31/12            Page 3 of 7 PageID #: 2200
AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 Supervised Release
                                                                                                           Judgment-Page ----L- of             7
DEFENDANT:                    DAMEON RICHARD
CASE NUMBER:                  4:11CR40037-040
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:             three (3) years




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any r.ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall p'ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ;:crsonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
     Case 4:11-cr-40037-SOH                          Document 871   Filed 08/31/12   Page 4 of 7 PageID #: 2201
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                       Judgment-Page _ 4 _ of    7
DEFENDANT:                DAMEON RICHARD
CASE NUMBER:              4:11CR40037-040

                                        SPECIAL CONDITIONS OF SUPERVISION

    1. The defendant shall submit his person, residence, and vehicle to a search conducted by the United States
       Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of
       evidence of violation of any condition of supervised release. The defendant shall warn any other residents
       that their premises may be subject to search pursuant to this condition. Failure to submit to a search may be
       grounds for revocation.
    2. The defendant shall comply with any referral, inpatient or outpatient, by the U.S. Probation Office for
       evaluation, counseling, testing, and/or treatment for substance abuse.
    3. Ifthe defendant does not complete his G.E.D. while incarcerated it will be a special condition of his
       supervision that he will enroll in an adult education program in the community and shall obtain his G.E.D.
       prIor to the expiration of his term of supervised release.
      Case 4:11-cr-40037-SOH                         Document 871                       Filed 08/31/12          Page 5 of 7 PageID #: 2202
AO 245B   (Rev. 06105) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment-Page _..l.5__ of       7
DEFENDANT:                        DAMEON RICHARD
CASE NUMBER:                      4:11CR40037-040
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                   Fine                                Restitution
TOTALS            $ 100.00                                                     $ -0-                               $ -0­


o The determination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priorit)' or~er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all non federal victims must be paid
    before the Umted States IS paid.

Name of Payee                                 Total Loss'"                                Restitution Ordered                 Priority or Percentage




TOTALS                              $ _ _ _ _ _ _ _....;;0:..,.


o    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the               0       fine     0     restitution.

     [] the interest requirement for the             0   fine       0     restitution is modified as follows:



'" Findings for the total amount of losses are required under Chapters 109A, 110, I lOA, and 113AofTitle 18 for offenses committed on or after
September 13,1994, but before April 23, 1996.
      Case 4:11-cr-40037-SOH                          Document 871           Filed 08/31/12           Page 6 of 7 PageID #: 2203
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment - Page _ _
                                                                                                                           6_ of             7
DEFENDANT:                   DAMEON RICHARD
CASE NUMBER:                4:11CR40037-040

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of$ """"""10;.;;0""'.0;..;:;0_ _ __ due immediately, balance due

           D     not later than                                  , or
           X     in accordance           [] C,        D D,   D     E, or     X F below; or
B    0     Payment to begin immediately (may be combined with              D C,      o D, or      0 F below); or
C    D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any un(laid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
           than $25.00 quarterly or 10% of the defendant's quarterly eamings, whichever is greater. After incarceration, any unpaid
           financial penalty shalf become a special condition of supervised release and may oe paid in monthly installments of not less than
           10% of the defendant's net monthly household income, with the entire balance to be paid in full one month prior to the
           termination of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cflminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
      Case 4:11-cr-40037-SOH                          Document 871          Filed 08/31/12      Page 7 of 7 PageID #: 2204

AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 7 - Denial of Federal Benefits

                                                                                                   Judgment          7_ of
                                                                                                              Page _ _                7
DEFENDANT:                  DAMEON RICHARD
CASE NUMBER:                4:11CR40037-040
                                                  DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

     IT IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of             Five (5) years

     ineligible for the following federal benefits for a period of
     (specify benefit(s»




                                                                       OR
o Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

o be ineligible for all federal benefits for a period of
o be ineligible for the following federal benefits for a period of
    (specify benefit(s»




     o    successfully complete a drug testing and treatment program.

     o    perform community service, as specified in the probation and supervised release portion of this judgment.

          IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
          judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.c. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                              U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
